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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DISTRICT

 TRAVELERS PROPERTY CASUALTY
 COMPANY OF AMERICA,
                                                          Case No. 17-cv-9195
        Plaintiff,

        v.

 D/C EXPORT & DOMESTIC PACKING,
 INC.,

        Defendant.


   PLAINTIFF TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA’S
         NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)

       Plaintiff Travelers Property Casualty Company of America, by and through undersigned

counsel, hereby dismisses the captioned matter against Defendant D/C Export & Domestic

Packing, Inc., without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).


                                      Respectfully submitted,


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